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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


In re
                                                                            Chapter 11
AMERICAN HOME MORTGAGE                                                      Case No. 07-11047-CSS, et seq.
HOLDINGS, INC., et al.,
                                                                            Objections due by: July 10, 2008, 4:00 p.m.
                                                                            Hearing Date: July 17, 2008 at 2:00 p.m.
                                   Debtors.


     NOTICE OF MOTION OF BANK OF NEW YORK AS TRUSTEE FOR THE
  CERTIFICATE HOLDERS CWALT INC. ALTERNATIVE LOAN TRUST 2006-OC4,
       MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2006-OC4
  FOR RELIEF FROM STAY UNDER SECTION 362 OF THE BANKRUPTCY CODE

TO:        Parties listed on the Certificate of Service

       Bank Of New York As Trustee For The Certificate Holders CWALT INC. Alternative
Loan Trust 2006-OC4, Mortgage Pass-Through Certificates, Series 2006-OC4 has filed a
Motion for Relief from Stay which seeks the following relief: Relief from the automatic stay to
exercise its non-bankruptcy rights with respect to a parcel of real property in which the above-
captioned debtor may hold an interest, located at 14664 Stone Crossing Court, Centerville, VA
20120.
           HEARING ON THE MOTION WILL BE HELD ON JULY 17, 2008 AT 2:00 P.M.

        You are required to file a response (and the supporting documentation required by Local
Rule 4001-1(d)) to the attached motion at lease five business days before the above hearing date.
At the same time, you must also serve a copy of the response upon movant’s attorneys:

                                               Adam Hiller, Esquire
                                               Maria Aprile Sawczuk, Esquire
                                               Draper & Goldberg, PLLC
                                               1500 North French Street, 2nd Floor
                                               Wilmington, Delaware 19801
                                               (302) 339-8776 telephone

       The hearing date specified above may be a preliminary hearing or may be consolidated
with the final hearing, as determined by the Court.

        The attorneys for the parties shall confer with respect to the issues raised by the motion in
advance for the purpose of determining whether a consent judgment may be entered and/or for
the purpose of stipulating to relevant facts such as value of the property, and the extent and
validity of any security instrument.

Movant: Bank Of New York As Trustee For The Certificate Holders CWALT INC. Alternative Loan Trust 2006-OC4, Mortgage Pass-Through Certificates, Series
2006-OC4
D&G Reference: 215535
Property Address: 14664 Stone Crossing Court, Centerville, VA 20120
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    IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE,
THE RELIEF REQUESTING IN THE MOTION MAY BE GRANTED BY THE
COURT WITHOUT FURTHER NOTICE OR HEARING.
Dated: June 17, 2008               Respectfully submitted,
       Wilmington, Delaware
                                   DRAPER & GOLDBERG, PLLC


                                    /s/ Adam Hiller
                                   Adam Hiller (DE No. 4105)
                                   Maria Aprile Sawczuk (DE No. 3320)
                                   1500 North French Street, 2nd Floor
                                   Wilmington, Delaware 19801
                                   (302) 339-8776 telephone
                                   (302) 213-0043 facsimile

                                   Attorneys for Movant




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